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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No. 15-cv-00302-PAB-MJW

  YSIDRO LONGORIA,

  Plaintiff,

  v.

  CORRECTIONS CORPORATION OF AMERICA,
  CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individual capacity and as
  an employee of CCA,
  C.O. G. CARDENAS, in his individual capacity and as an employee of CCA,
  C.O. MATTHEW DOTTER, in his individual capacity and as an employee of CCA,
  C.O. ANDRES LOPEZ, in his individual capacity and as an employee of CCA,
  C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
  C.O. LINDA BRADFORD, in her individual capacity and as an employee of CCA,
  C.O. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
  C.O. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
  C.O. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA
  C.O. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,
  C.O. DAVID LAMBERT, in his individual capacity and as an employee of CCA,
  C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA, and
  C.O. CHIEF LISA FELLHAUER, in her individual capacity and as an employee of CCA,

  Defendants.
                                    MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

          It is hereby ORDERED that the Motion for Permission to File Second Amended
  Complaint (Docket No. 32), which is now unopposed (see Docket No. 37), is granted.
  The tendered Amended Complaint (Docket No. 32-1) is accepted for filing as of the date
  of this Minute Order.

  Date: September 30, 2015
